      Case 2:10-cr-00347-DAD Document 323 Filed 03/14/14 Page 1 of 1
                UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,              Case No. 2:10-CR-00347-05-MCE

          Plaintiff,
     v.                                ORDER FOR RELEASE OF PERSON
                                       IN CUSTODY
NAVPREET SINGH,

          Defendant.
___________________________/

TO: THE UNITED STATES MARSHAL SERVICE.

     This is to authorize and direct you to release

NAVPREET SINGH, Case No. 2:10-CR-00347-05-MCE, from custody for the

following reasons:

                       Release on Personal Recognizance

                       Bail Posted in the Sum of $

                       Unsecured Appearance Bond

          ___          Appearance Bond with 10% Deposit

                       Appearance Bond with Surety

          ___          Corporate Surety Bail Bond

           X           (Other): Pursuant to the Court’s Order on
                       March 14, 2014, of time served.


Issued at Sacramento, California on March 14, 2014 at 9:19 a.m.

                                        Dated: March 14, 2014


                                        ____________________________
                                        MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
